














NUMBER 13-06-419-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


IN THE MATTER OF R.V.G., A JUVENILE,  

                                                                                                                                      


On appeal from County Court at Law No. 5 of Nueces County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Garza


Memorandum Opinion by Justice Yañez


									

	This case involves the transfer of appellant, R.V.G., a juvenile, from the Texas
Youth Commission (TYC) to the Institutional Division of the Texas Department of Criminal
Justice (TDCJ) for the completion of his ten-year sentence. (1)  Following a hearing, the trial
court ordered appellant transferred from TYC to TDCJ.  Appellant's counsel has filed a
brief with this Court asserting there is no basis for appeal. (2)  We agree, and affirm the trial
court's judgment.

Anders Brief

	Counsel's brief reveals that he has reviewed the clerk's record and reporter's record
in this case and has concluded that appellant's appeal is frivolous and without merit. (3)  The
brief meets the requirements of Anders as it presents a professional evaluation showing
why there are no arguable grounds for advancing an appeal. (4)  In compliance with High v.
State, 573 S.W.2d 807, 813 (Tex. Crim. App. 1978), counsel has carefully discussed why,
under controlling authority, there are no errors in the trial court's judgment.  In the brief,
appellant's counsel states that he has informed appellant of his right to review the
appellate record and to file a pro se brief. (5)  More than thirty days have passed and no such
brief has been filed.

	Upon receiving a "frivolous appeal" brief, the appellate courts must conduct "a full
examination of all the proceedings to decide whether the case is wholly frivolous." (6)  We
have carefully reviewed the appellate record and counsel's brief.  We agree with
appellant's counsel that the appeal is wholly frivolous and without merit. (7)  Accordingly, we
affirm the judgment of the trial court.

Motion to Withdraw


	In accordance with Anders, counsel has asked permission to withdraw as counsel
for appellant. (8)  An appellate court may grant counsel's motion to withdraw filed in
connection with an Anders brief. (9)  We grant counsel's motion to withdraw.

	We order counsel to advise appellant promptly of the disposition of this case and
the availability of discretionary review. (10)      



                                                                                                                      

							LINDA REYNA YAÑEZ,

							Justice







Memorandum opinion delivered and filed 

this the 9th day of August, 2007.

1.  See Tex. Fam. Code Ann. § 54.11 (Vernon Supp. 2006); Tex. Health &amp; Safety Code Ann. § 61.079
(Vernon Supp. 2006). 
2.  See Anders v. California, 386 U.S. 738, 744 (1967).
3.  See id.  
4.  See Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991) (en banc). 
5.  See Sowels v. State, 45 S.W.3d 690, 693 (Tex. App.-Waco 2001, no pet.).  
6.  Penson v. Ohio, 488 U.S. 75, 80 (1988); see Garza v. State, 126 S.W.3d 312, 313 (Tex.
App.-Corpus Christi 2004, no pet.).  
7.  See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex. Crim. App. 2005).
8.  See Anders, 386 U.S. at 744.
9.  Moore v. State, 466 S.W.2d 289, 291 n.1 (Tex. Crim. App. 1971); see Stafford, 813 S.W.2d at 511
(noting that Anders brief should be filed with request for withdrawal from case).  
10.  See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (en banc) (per curiam). 

